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 5 Attorney for:
   JOVANNY ARELLANES
 6
                                   IN THE UNITED STATES DISTRICT COURT
 7
                                       EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                             CASE NO. 2:13-CR-227 GEB
10
                                      Plaintiff,           STIPULATION REGARDING EXCLUDABLE
11                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
                              v.                           [PROPOSED] FINDINGS AND ORDER TO
12                                                         CONTINUE CASE TO 10/28/16 AT 9:00 A.M.
     JOVANNY ARELLANES, Defendants
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                                                     STIPULATION
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            Plaintiff United States of America, by and through its counsel of record, AUSA Todd Pickles,
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     and Defendant Jovanny Arellanes, represented by Attorney Dina Santos, hereby stipulate as follows:
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            1.      By previous order, this matter was set for status on October 21, 2016.
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            2.      By this stipulation, defendant now moves to continue the status conference until October
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     28, 2016, for change of plea and to exclude time between October 21, 2016, and October 28, 2016,
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     under Local Code T4. Plaintiff does not oppose this request.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)       Counsel for defendants desire additional time finalize a plea agreement, continue
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            to conduct investigation, and to otherwise prepare for trial.
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                    b)       Counsel for defendants believe that failure to grant the above-requested
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            continuance would deny them the reasonable time necessary for effective preparation, taking into
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            account the exercise of due diligence.
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                    c)       The government does not object to the continuance.
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                    d)       Based on the above-stated findings, the ends of justice served by continuing the
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      Stip. & [Proposed] Order Continuing Status Conf. &   1
      Excluding Time Periods Under Speedy Trial Act
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                Case 2:13-cr-00227-DAD Document 176 Filed 10/20/16 Page 2 of 3


 1            case as requested outweigh the interest of the public and the defendant in a trial within the

 2            original date prescribed by the Speedy Trial Act.

 3                    e)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 4            et seq., within which trial must commence, the time period of October 21, 2016, to October 28,

 5            2016, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

 6            T4] because it results from a continuance granted by the Court at defendant’s request on the basis

 7            of the Court’s finding that the ends of justice served by taking such action outweigh the best

 8            interest of the public and the defendant in a speedy trial.

 9            4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

10 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

11 must commence.

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13            IT IS SO STIPULATED.

14 Dated: October 19, 2016                                       PHILLIP TALBERT
                                                                 United States Attorney
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16                                                               /s/ Todd Pickles
                                                                 TODD PICKLES
17                                                               Assistant United States Attorney

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19 Dated: October 19, 2016                                       /s/ Dina L. Santos
                                                                 DINA SANTOS, ESQ.
20                                                               Attorney for Jovanny Arellanes

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        Stip. & [Proposed] Order Continuing Status Conf. &   2
        Excluding Time Periods Under Speedy Trial Act
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             Case 2:13-cr-00227-DAD Document 176 Filed 10/20/16 Page 3 of 3


 1                                                        ORDER

 2         IT IS SO FOUND AND ORDERED.

 3         Dated: October 20, 2016

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     Stip. & [Proposed] Order Continuing Status Conf. &     3
     Excluding Time Periods Under Speedy Trial Act
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